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                                                                               The Honorable Thomas S. Zilly
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 6
                                     UNITED STATES DISTRICT COURT
 7
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE

 9   MANE FALETOGO, individually,
                                                                   NO. 2:19-cv-00247-TSZ
10                             Plaintiff,
                                                                   MOTION FOR VOLUNTARY NON-
11                                                                 SUIT WITHOUT PREJUDICE
                      v.
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     CITY OF SEATTLE, a municipal corporation,                     HEARING DATE: MAY 17, 2019
13   OFFICER JARED KELLER ,
14                             Defendants.
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                                              I.       INTRODUCTION
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             Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff Mane Faletogo moves to dismiss his
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     claims against Defendants, City of Seattle and Officer Jared Keller, without prejudice. 1 There
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19   are no counterclaims of record, and trial is not scheduled. As a practical matter, Mr. Faletogo

20   seeks this non-suit premised upon two primary reasons: (1) during the pendency of this lawsuit

21   the Washington State Legislature enacted a new law that gives Mr. Faletogo rights under state
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     tort law to maintain this claim, and (2) the decedent’s mother has expressed an interest in
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       (2) By Court Order; Effect. Except as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff's
25   request only by court order, on terms that the court considers proper. If a defendant has pleaded a counterclaim
     before being served with the plaintiff's motion to dismiss, the action may be dismissed over the defendant's
26   objection only if the counterclaim can remain pending for independent adjudication. Unless the order states
     otherwise, a dismissal under this paragraph (2) is without prejudice.

     MOTION FOR VOLUNTARY                                                      CONNELLY LAW OFFICES, PLLC
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 1   intervening in this matter. The newly enacted law does not become effective until July 28,

 2   2019, and completely revises Mr. Faletogo’s options as to how to proceed with this case. See
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     S.B. 5163.2 In the interest of judicial economy and based upon the fact that Mr. Faletogo’s state
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     law rights have substantively changed, this motion should be granted.
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                                           II.     CONCLUSION
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                Based upon the arguments set forth herein, this matter should be dismissed without
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 8   prejudice.

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                DATED this 2nd day of May, 2019.
10
                                            CONNELLY LAW OFFICES, PLLC
11

12                                                 Lincoln Beauregard
                                            By _________________________________________
13
                                               Lincoln C. Beauregard, WSBA No. 32878
14                                             Amanda M. Searle, WSBA No. 42632
                                               Attorneys for Plaintiff Mane Faletogo
15   .

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         See attached

     MOTION FOR VOLUNTARY                                            CONNELLY LAW OFFICES, PLLC
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